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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Criminal No. 17-cr-201-1 (ABJ)
v. §
PAUL J. MANAFORT, JR., F I L E D
Defendant. MAR l 3 2019
ORDER OF FORFEITURE C!erk, U.S District & Bankruptcy

Courts fur the Diz:trlct of Co|umbia

 

WHEREAS, a Written plea agreement was filed With this Court and signed by the
defendant, Paul J. Manafort, Jr., and his counsel, in Which the defendant agreed to plead guilty to
a Superseding Criminal Information (“Information”) charging, inter alia, a conspiracy to violate
the Foreign Agents Registration Act (“FARA”), in violation of Title 18, United States Code,
Section 371 and Title 22, United States Code, Sections 612, 618(a)(l), and 618(a)(2), and the
defendant has pled guilty to that offense (“Count One”);

WHEREAS, the lnformation also alleged the forfeiture of any property, real or personal,
which constitutes or is derived from proceeds traceable to the offense alleged in Count One,
including, inter alia, a conspiracy to violate FARA, pursuant to Title 18, United States Code,
Section 981(a)(l)(C) and Title 28, United States Code, Section 2461(c);

WHEREAS, the Information further alleged that the United States Would seek a personal
money judgment of forfeiture against the defendant representing the value of any property, real or
personal, Which constitutes or is derived from proceeds traceable to the offenses alleged in Count
One, including, inter alia, a conspiracy to violate FARA, Which property is subject to forfeiture

pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United States Code,

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Section 246l(c);

WHEREAS, the Information further alleged that such a money judgment of forfeiture was
“to be offset by the forfeiture of any specific property”;

WHEREAS, the Information further alleged that, if any of the property subject to forfeiture
has, as a result of any act or omission of the defendant, been transferred, sold, or deposited With a
third party or commingled with other property that cannot be subdivided without difficulty, the
United States would seek forfeiture of any other property of said defendant in substitution for such
property (“Substitute Property”);

WHEREAS, Title 21, United States Code, Section 853(p) authorizes the forfeiture of
substitute property;

WHEREAS, in his plea agreement, the defendant admitted to the forfeiture allegations in
the Inforrnation and, in his Statement of the Offenses and Other Acts (“Statement”), he admitted
that he obtained at least $l l,000,000 as a result of the conspiracy to violate FARA offense alleged
in Count One, for Which he was convicted;

WHEREAS, in his plea agreement, the defendant consented to the forfeiture of the
following property and agreed, inter alia, such property constitutes or is derived from proceeds
traceable to the conspiracy to violate FARA offense alleged in Count One, or is property traceable
thereto, or, alternatively, can be forfeited as Substitute Property:

a) The real property and premises commonly known as 377 Union Street, Brooklyn, New
York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and
attachments thereon, and any property traceable thereto;

b) The real property and premises commonly known as 29 Howard Street, #4D, New York,

New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements, and
attachments thereon, and any property traceable thereto;

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c) The real property and premises commonly known as 174 Jobs Lane, Water Mill, New York
11976, including all appurtenances, improvements, and attachments thereon, and any
property traceable thereto;

d) All funds held in account number XXXXXXO969 at The Federal Savings Bank, and any
property traceable thereto;

e) All funds seized from account number XXXXXX1388 at Capital One N.A., and any
property traceable thereto;

f) All funds seized from account number XXXXXX9952 at The Federal Savings Bank, and
any property traceable thereto;

g) Northwestem Mutual Universal Life lnsurance Policy XXXX8327 and any property
traceable thereto;

WHEREAS, the defendant has admitted that certain additional property that constitutes or
is derived from proceeds traceable to the conspiracy to commit FARA offense alleged in Count
One, or property traceable thereto, has, as a result of the defendant’s acts or omissions, been
transferred or sold or deposited with a third party or commingled with other property that cannot
be subdivided Without difficulty, and has consented to the forfeiture of the following additional
assets as Substitute Propcrty:

a) The real property and premises commonly known as 123 Baxter Street, #SD, New
York, New York 10016; and

b) The real property and premises commonly known as 721 Fifth Avenue, #43G, New
York, NY 10022;

WHEREAS, in his plea agreement, the defendant waived the provisions of the Federal
Rules of Criminal Procedure 1 1(b)(1)(J ) and 32.2 regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment;

WHEREAS, on October 1(), 2018, the Court entered a Consent Order of Forfeiture

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constituting a preliminary order of forfeiture with respect to the nine properties identified herein
above, the same which were listed in the plea agreement and for which the United States previously
provided direct written notice and publication of notice in accordance with Federal Rule of
Criminal Procedure 32.2(b)(6), as set forth in the United States Declaration of Notice;

WHEREAS, this Court finds, pursuant to Rule 32.2(b)(1) and (b)(2) of the Federal Rules
of Criminal Procedure, based on the evidence and information before it, including the plea
agreement and the defendant’s Statement, that the defendant obtained at least $11,000,000 in
proceeds of the conspiracy to violate FARA offense alleged in Count One, for which he was
convicted;

WHEREAS, this Court finds, pursuant to Rule 32.2(b)(l) and (b)(2) of the F ederal Rules
of Criminal Procedure, based on the evidence and information before it, including the plea
agreement and the defendant’s Statement, that the specific property listed below is subject to
forfeiture, as property that constitutes or is derived from proceeds the defendant obtained that are
traceable to the conspiracy to violate FARA alleged in Count One, or as Substitute Property;

WHEREAS, this Court finds that the personal money judgment of forfeiture entered by
this Order should be offset by the forfeiture of any specific property ordered forfeited herein;

WHEREAS, pursuant to Rule 32.2(b)(4) of the F ederal Rules of Criminal Procedure and
paragraph 12(c) of the plea agreement, the government has requested that this order become final
as to the defendant upon entry, and be made part of the sentence and included in the judgment;

NOW THEREFORE, ITIS HEREBY ORDERED, ADJUDGED AND DECREED:

1. Pursuant to Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure and Title

18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c),

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a Personal Money Judgment of Forfeiture against the defendant, Paul J. Manafort, Jr., for

$11,000,000 is entered. This amount represents a sum of money equal to the amount of proceeds

the defendant obtained (directly or indirectly) from the conspiracy to violate FARA offense

charged in Count One, for which he was convicted, and an amount for which the defendant is

solely liable.

2. The following specific property is forfeited to the United States, pursuant to Title

18, United States Code, Sections 981(a)(1)(C), 982(b) and Title 28, United States Code, Section

2461(c), and Title 21, United States Code, Section 853(p) (collectively, the “Forfeited Assets”):

a)

b)

g)

h)

The real property and premises commonly known as 377 Union Street, Brooklyn, New
York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and
attachments thereon, and any property traceable thereto;

The real property and premises commonly known as 29 Howard Street, #4D, New York,
New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements, and
attachments thereon, and any property traceable thereto;

The real property and premises commonly known as 174 Jobs Lane, Water Mill, New York
11976, including all appurtenances, improvements, and attachments thereon, and any
property traceable thereto;

All funds held in account number XXXXXXO969 at The Federal Savings Bank, and any
property traceable thereto;

All funds seized from account number XXXXXX1388 at Capital One N.A., and any
property traceable thereto;

All funds seized from account number XXXXXX9952 at The Federal Savings Bank, and
any property traceable thereto;

Northwestem Mutual Universal Life lnsurance Policy XXXX8327 and any property
traceable thereto;

The real property and premises commonly known as 123 Baxter Street, #SD, New York,
New York 10016; and

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i) The real property and premises commonly known as 721 Fifth Avenue, #43G, New York,
NY 10022.

3. Upon final forfeiture of the Forfeited Assets to the United States, the net proceeds
realized by the United States shall be credited to the Personal Money Judgment of Forfeiture
entered herein.

4. The United States has provided direct written notice to persons known to have
alleged an interest in the Forfeited Assets, and has published notice of the October 10, 2018,
Consent Order of Forfeiture in accordance with Rule 32.2(b)(6) of the Federal Rules of Criminal
Procedure, as described in the United States Declaration of Notice. No additional notice is
required with respect to the Forfeited Assets as a result of this Order.

5. The United States shall have clear title to the Forfeited Assets following the entry
of a Final Order of Forfeiture and the Court’s disposition of all third-party interests, or, if none,
following the expiration of the period provided in Title 21, United States Code, Section
853(n)(2).

6. The United States may collect the Personal Money Judgment of Forfeiture by all
available means, including, but not limited to, the forfeiture of property directly traceable to the
proceeds of the offense and substitute assets.

7. No ancillary proceeding shall be conducted for the Personal Money Judgment of
Forfeiture, as directed by Rule 32.2(0)(1) of the Federal Rules of Criminal Procedure.

8. The Attorney General or a designee, pursuant to Rule 32.2(b)(3) of the Federal
Rules of Criminal Procedure, is authorized to conduct any discovery to identify, locate, or
dispose of property subject to this Order, including, but not limited to7 depositions,

interrogatories, requests for production of documents and for admissions, and, pursuant to Rule

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45 of the Federal Rules of Civil Procedure, the issuance of subpoenas

9. The Attorney General, Secretary of Homeland Security, Secretary of the
Treasury, or a designee, is authorized to seize, inventory, and otherwise maintain custody and
control of the Forfeited Assets, whether held by the defendant or by a third party, pursuant to
Rule 32.2 (b)(3) of the Federal Rules of Criminal Procedure and Title 21, United States Code,
Section 853(g).

10. Pursuant to Rule 32.2(b)(4)(A) and (B) of the F ederal Rules of Criminal
Procedure and as consented to by the defendant, this Amended Consent Order of Forfeiture and
Personal Money Judgment of Forfeiture is final as to the defendant upon entry and shall be made
a part of the sentence and included in the judgment

11. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Rule 32.2(e) of the F ederal Rules of Criminal Procedure.

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12. The Clerk of the Court is hereby directed to send copies to all counsel of record.
Upon request, the Clerk of the Court shall make certified copies of this Order available to the

Department of Justice.

`V\
naer this ig day Of Wadkzow.

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THE HoNoi§ABLE AM\?`B¥ JACKsoN\
UNITED sTATEs DisTRicT JUDGE

 

WE ASK FOR THIS:

ROBERT S. MUELLER, 111
Special Counsel

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By: //¢/' .V » é/:/y%MMMM
Andrew Weissmann

Jeannie S. Rhee

Greg D. Andres

Senior/Assistant Special Counsel

 

